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                                                                    Yes; Dkt #
                                                                    No; I have ordered it.
                                                                    Yes; Dkt #
                                                                    No; I have ordered it.

                                                                    Yes; Dkt #
                                                                    No; I have ordered it.

                                                                    Yes; Dkt #
                                                                    No; I have ordered it.

                                                                    Yes; Dkt #
                                                                    No; I have ordered it.

                                                                    Yes; Dkt #
                                                                    No; I have ordered it.

                                                                    Yes; Dkt #
                                                                    No; I have ordered it.

                                                                    Yes; Dkt #
                                                                    No; I have ordered it.
